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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 RAFIC SAADEH,

                                       Plaintiff,                   20 Civ. 1945 (PAE) (SN)
                        -v-
                                                                             ORDER
 MICHAEL KAGAN, et al.,

                                       Defendants.


PAUL A. ENGELMAYER, District Judge:

       The Court has received a letter motion from plaintiff Rafic Saadeh (“Saadeh”) to reopen

plaintiff’s motion for a default judgment against the Estate of Michael Irving (the “Estate”).

Dkt. 64. The Court has been advised by Saadeh that Letters of Administration had been issued

to defendant Michael Kagan on September 30, 2020. See id. at 2; see also id., Ex. A (N.Y.

County Surrogate’s Court certificate affirming that Letters of Administration appointing Michael

Kagan as administrator of the Estate were issued on September 30, 2020).

       If Michael Kagan wishes to oppose the motion, he must submit by January 20, 2021 a

letter explaining why the Court should not reopen the motion and enter a default judgment

against the Estate.




                                                              PaJA.�
       SO ORDERED.

                                                             ____________________________
                                                             Paul A. Engelmayer
                                                             United States District Judge


Dated: January 13, 2021
       New York, New York




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